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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                            1/27/21
NE BRANDS LLC,
            Plaintiff,
                                                   19-CV-7420 (JPC) (BCM)
       -against-
                                                   ORDER
SEATTLE PACIFIC INDUSTRIES, INC., et
al.,
            Defendants.

BARBARA MOSES, United States Magistrate Judge.

       Following two counsel-only pre-settlement conferences conducted on January 26 and 27,

2021, the Court has concluded that settlement is unlikely at this time. Therefore, the settlement

conference currently scheduled for January 28, 2021, at 2:15 p.m. is ADJOURNED sine die. The

parties shall file a letter-motion requesting a conference if and when they believe a settlement

conference would be productive.

Dated: New York, New York
       January 27, 2021
                                            SO ORDERED.



                                            ________________________________
                                            BARBARA MOSES
                                            United States Magistrate Judge
